                       Case 1:21-cr-00328-TSC Document 1 Filed 03/12/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                   Robert Scott Palmer
                                                                     )
                    DOB: XXXXXX                                      )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                                         in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
         18 U.S.C. § 111(a)(1) and (b) (Assaulting, Resisting, or Impeding Certain Officers Using a
        Dangerous Weapon) ,
        18 U.S.C. § 231(a)(3) and 2 - Obstruction of Law Enforcement During Civil Disorder,
         18 U.S.C. §§ 1752(a)(1), (2) and (4) and (b)(1)(A) - Knowingly Entering or Remaining in any
        Restricted Building or Grounds Without Lawful Authority.


         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                       Michael Major, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                           Digitally signed by G. Michael
                                                                                                           Harvey
                                                                                                           Date: 2021.03.12 14:15:44 -05'00'
Date:             03/12/2021
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                      G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
